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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

UNITED STATES OF AMERICA

v.                               4:08CR00261-01 WRW

JOSE DeJESUS NARVAEZ

                                       ORDER

      The United States’ Motion to Dismiss Without Prejudice (Doc. No. 94) is GRANTED.

The case against defendant Jose DeJesus Narvaez is DISMISSED WITHOUT PREJUDICE.

      IT IS SO ORDERED this 8th day of July, 2010.



                                                     /s/Wm. R. Wilson, Jr.
                                               UNITED STATES DISTRICT JUDGE
